             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION
 MARSHAL T. SIMPSON,                 )
 INDVIDUALLY AND AS TRUSTEE OF       )
 THE MARSHAL T. SIMPSON TRUST;       )
 DONALD S. SIMPSON, INDIVIDUALLY     )
 AND AS TRUSTEE OF THE DONALD S.     )    No. 4:18-00398-CV-RK
 SIMPSON TRUST; AND CHRISTOPHER      )
 BOYD,                               )
                                     )
                       Plaintiffs,   )
                 v.                  )
                                     )
 WILLIAM DIRKS DAMERON, LLC,         )
 MATTHEW L. DAMERON,                 )
                                     )
                       Defendants.   )
                         ORDER TO SHOW CAUSE
        The Court’s review of this case reveals that the Complaint (doc. 1) does not establish that
subject-matter jurisdiction exists. Therefore, Plaintiffs are directed to show cause why this case
should not be dismissed. See Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377
(1994) (The burden of establishing subject-matter jurisdiction “rests upon the party asserting
jurisdiction.”
        Federal courts have an independent obligation to ensure that they have subject-matter
jurisdiction to hear a case. Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428, 434 (2011).
Plaintiffs allege that jurisdiction exists pursuant to 28 U.S.C. § 1332, which requires, among other
things, that no Plaintiff be a citizen of the same state where any Defendant is a citizen. However,
the present record does not establish that complete diversity exists. With respect to the citizenship
of Defendant William Dirks Dameron, LLC, “an LLC’s citizenship is that of its members for
diversity jurisdiction purposes.” GMAC Commercial Credit LLC v. Dillard Dep’t Stores, Inc., 357
F.3d 827, 829 (8th Cir. 2004). Therefore, to determine Defendant William Dirks Dameron, LLC’s
citizenship, the Court must know the citizenship of its members.




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       Accordingly, Plaintiffs are ORDERED to show cause as to why the case should be not
dismissed by providing the additional information to establish subject-matter jurisdiction.
Plaintiff’s response is due on or before August 24, 2018.
       IT IS SO ORDERED.
                                                    s/ Roseann A. Ketchmark
                                                    ROSEANN A. KETCHMARK, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: August 10, 2018




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